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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION
UNITED STATES OF AMERICA, : CASE NO. 3:18MJ821

vs. HON. SHARON L. OVINGTON
JOHN RIAZZI

IRD : OF ¥

I, JOHN RIAZZI, the above named defendant, who had an initial appearance on January
9, 2019, and who is accused by a Complaint filed herein on December 27, 2018 of Count 1 — the
knowing failure to thoroughly inspect a facility prior to renovation, in violation of 42 U.S.C.
§ 7413(c)(1), Count 2 - the knowing failure to provide written notice to the EPA and its designee
at least 10 working days prior to commencing a renovation activity, in violation of 42 U.S.C. §
7413(c)(1) and Count 3 - the knowing failure to adequately wet regulated asbestos-containing
material while a jurisdictional amount was being removed during a renovation activity, in violation
of 42 U.S.C. § 7413(c)(1), and being advised of the nature of the charge(s) and of my rights, do
hereby waive, with the advice of my counsel, the thirty (30) day period within which an indictment
or information relative to the above-referenced charge(s) must be filed pursuant to 18 U.S.C,
§ 3161(b). Accordingly, this waiver of the time period within which an Indictment or information
relative to the charges in this matter must be filed is extended forty-six (46) days from March 30,
2019 up to and including Mary 14, 2019,

This Waiver is made and executed in conjunction with, and support of, the accompanying
Motion for Order Extending Time to File Indictment/Information. By signing this Waiver below,

I acknowledge that I understand this Waiver and accompanying Motion and have read and

 
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discussed their contents with my attorney, that 1 agree with and consent to the filing of this Waiver
and the accompanying Motion with this Court, that there will be no in-court appearance or hearing
regarding this Waiver or the accompanying Motion, that no threats or promises have been made
to get me to sign this Waiver, and that I have signed this Waiver knowingly, intelligently, and

voluntarily, of my own free will.

Date: abeel4

 

Iam JOHN RIAZZ1’s attorney. By signing below, I acknowledge that I have carefully discussed
this Waiver and the accompanying Motion for Order Extending Time to File
Indictment/Information with my client, that I have fully advised my client of the nature of the
charge(s) in this matter, his rights, and the consequences of entering into this Waiver and making
the accompanying Motion, that my client expressed agreement with and consented to the filing of
this Waiver and the accompanying Motion with this Court, and that to my knowledge, my client's
decision to execute this Waiver is knowing, intelligent, and voluntary, of his own free will.

Date: a ~26 “11

 

Attorney fot Defendant ,
